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              èƍҥ ê˱ɠϜƎšҥ ßϝ5мҥ ̭Ǿҥ¨˜ǯΤɡŅ÷ҥ Ţҥ M@'ҥ ţǰȒƏ˲Ƌ̧Ϟҥ Ä©à×Óҥ íªÎºҥ :ҥ ʬ ҥ
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        ϵȽƳѺҥ FҥVǳƅҥ ĂũŪɵ϶ɶ́Għˍҥ Ϸɷˣƴҥ ϸ͂ҥ ɸ̄њлρPɹȨăϹƵҥ Į ūҥ ʹ΍ƶͺ9̅ҥ ȞΎҥ A ҥ ҥ ҥ ҥ
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 %,5"#-5.&5) 5*1253/5 '+05 $5         !(45

        ½ҥ щ̌ŲǉΖϚЮ7̬ҥ ЂȿċЃҥ ȇǊųǵΨĭ˖ҥ ČѢҥ Ȫǋ̍ǌΗčːˑѿҥ ͹͎ќɾŴǍψҥ  ҥ ҥ ѝҥ ҥ K?Єҥ Ѕ͏ҥ 5ўҥ (ͪJ)ʾҥ
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̅˦ǂÜƋ̠¦Ǽ̠̕ǽśɄǣƫ̠ Ǿȵɡ̠ǅĂǀÒˤ̝ǿʾ̠ Ä̠iǐĲýI̠ §ɻ̠˚ƒ̠kȶ˳ɥ˜̠ŦȀĀʉ̠ʿƅ¨*̠*ƾɼ̠ĳ̇ÓǑ,"ȷ̠
ȸŜ̠ ǄĴ̠D7ĵɭÔɽ̠ˀƌŊ̠Ķȁāʊ̠ȹŝ̠ǇˮɾƆ̠ 8ķ̠½̠Ⱥ̠ ˧ĸƬůƍɿ̠ˁƇĹ̠Áĺʀ˂̠Ǣ)Ļ!ļʁ̞̠ȻŞ̠˘Ə̠ɏ˯ÂǙÕ̠©÷̠+Ľ̠
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             iĕ<®ĝču=ĝâ>ð¿»)+]Õĝ ĈqÀ3ĝ˄̟̠Á½kÂ·bĝÛ?ĝ¯@jÚøwùxÃ¸ôĝ  
4yĝ ñĜúÖ°ĝÄZĝˠǁʋ̠-÷ĝęzûlÅĐĝď{ĝŋ̉ù˵ʏaȼPQ̠[ü|«Aĝ}¥¦ĝ«vȽ̠̀§¨ĝ.ÆĔĝ˅̠ŠÝ,"̠
ýmBèĝC_ÇîČöĝD±ĝáEĝUVŁŮȾˆƮ¬ˇRMSTʃ̠ Ė~ÈđĝˈÃł̠ɨʄˉ̠˙Ɛ­ˊ̠ˡŃ̠̒́ȿ˰ǒú̠ĝûńȃƯŅü̠ˋƈņ̠
þ­ĝ V2ĝò ïĝaãĝF`G/ĉėHĝÜäIÝĒí*ÿrĝ\ÉĝĊé ĝĀ!cĝưȗ˔ɀ̠ ®Ö9Ɂ˱Ȅˌ̠ānJĝ   
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         ĝ    ÙċsSëĝeĘP´ĝĎvQĝçT'õÎ¾,ªYĝ£¤tÏÐ;ĝąp%ĆĝÑµfÒ¹gĝ¶RhÓć& Ôº ĝ
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